            Case 8:22-cv-01178-CEH-CPT Document 1-2 Filed 05/23/22 Page 1 of 7 PageID 12




5-20-2021                                     20200775531                              5820210520006144
            Case 8:22-cv-01178-CEH-CPT Document 1-2 Filed 05/23/22 Page 2 of 7 PageID 13




4-19-2021                                     20200775531                              5120210419230666
            Case 8:22-cv-01178-CEH-CPT Document 1-2 Filed 05/23/22 Page 3 of 7 PageID 14




4-19-2021                                     20200775531                              5120210419230666
            Case 8:22-cv-01178-CEH-CPT Document 1-2 Filed 05/23/22 Page 4 of 7 PageID 15




4-19-2021                                     20200775531                              5120210419230666
            Case 8:22-cv-01178-CEH-CPT Document 1-2 Filed 05/23/22 Page 5 of 7 PageID 16




4-19-2021                                     20200775531                              5120210419230666
            Case 8:22-cv-01178-CEH-CPT Document 1-2 Filed 05/23/22 Page 6 of 7 PageID 17




5-20-2021                                     20200775531                              5820210520005311
            Case 8:22-cv-01178-CEH-CPT Document 1-2 Filed 05/23/22 Page 7 of 7 PageID 18




5-20-2021                                     20200775531                              5820210520005311
